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                      EXHIBIT               I
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                                      SATEXMANAGEMENT SERVICES, INC.
                                      MEDICAL CONSULTANT AGREEMENT

                            THIS MEDICAL CONSULTANT AGREEMENT (as amended from time to time, this
                "Agreement") is made and entered into this isI day of June 2005, by and
                                                                                           between Satex
                Management Services, Inc. ("Satex"), a Texas corporation, and Shaffin Ali Mohamed, M.D.
                ("Physician").


                                                                   WITNESSETH:

                      WHEREAS, Satex operates a medical services management company (the "Company")
               in San Antonio, Texas, with operations in other locations in Texas; and

                           . WHEREAS, Physician isa medical doctor licensed to practice medicine in Texas; and

                       WHEREAS, Satex desires to retain   Physician to provide to serve as a medical consultant
               to assist Satex in managing vanous medical practices; and

                           WHEREAS, Physician desires to serve as a consultant as requested;

                        IT is, THEREFORE, in consideratiOn of the foregoing premises, the mutual covenants
(""')         herein contaned, and other good and valuable consideration, the reeipt and adequacy of which
              are hereby   acknowledged, AGREED AS FOLLOWS:

                                                     ARTICLE i: Medical Consultancy
              Appointment as Medical Consultant. Physician shall serve as a Medical Consultant to Satex
              throughout  the term of the Agreement. Physician may resign or be removed by Satex at any
              time, with or without cause, upon 60 days' pnor wntten notice.

              Physician's Responsibilties. Pursuant to this Agreement, Physician shall have the following
              specific responsibilties, ànd such other responsibilties as may be set forth herein or to which
              Satex and Physician may agree from time to time.

                           (a) General. As a Satex Medical' Consultant, Physician shall devote such time as
                                  reasonably necessary to manage and oversee the operation of the practices
                                 designated by Satex, as well as Satex's practices. Subject to Satex's approval,
                                 Physician wil formulate, monitor, oversee and approve all policies and activities
                                 of the medical staff, as well as review and revise the currnt operations and
                                 procedures, including bylaws, rules and regulations. Physician wil review and
                                 revise the current operations and procedures of Satex and effect such changes in
                                 the designated practices and their operations as necessary to ensure they and Satex
                                 are operated in a professional and efficient manner as possible. Physician wil




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                         reasonably assist other ,licènsed medical practitioners in performing and
                         evaluating medical services, to the extent permtted by law.

               (b) Administration. Physician wil cooperate with Satex in developing reasonable
                         procedures regarding business administration.

     Medical Consultant Fee. In consideration for Physician's serving as a Satex Medical
                                      a gross monthly Consultant Pee in the amount of Twelve
     Consultant, Satex shall pay Physician,

     Thousand Dollars ($12,000.00). The Consultant Pee shall be payable twice monthly, on
     approximately the 15th and 30th day of each month. In addition, and as the same relate to this
     Agreement, Satex shall pay (a) all of Physician's costs in traveling to and from San Antonio; (b)
     all of Physician's travel related expenses; (c) all of Physician's continuing medical education
     expenses; and (d) health insurace for Physician and his family.

     Chimges in Law. Physician and Satex wil work cooperatively to implement new procedures,
     controls, or systems that mayreasonably be considered necessary to respond to changes in law or
     contracts with governmental agencies or their agents, :which have an impact on the operation of
     Satex.

                                                 ARTICLE II: Insurance
    Insurance. Physician shall, at all times throughout the term of this Agreement, maintain
    professional liability insurance for Physician as reasonably necessary to permit Physician to
    perform his obligations hereunder. Satex agrees to maintain liabilty insurance at current limits
    at time of this contract or as may be increased or decreased from time to time.

                                        ARTICLE III: Term and Termination

    Term. The term of this Agreement wil be for one (1) year, commencing on the date first above
    written, and shall thereafter automatically renew for consecutive one (1) year terms, provided
    that either party may terminate this Agreement upon giving sixty (60) days' wntten notice to the.
    other of their intention to terminate.

    Termination by Satex. Satex may terminate this Agreement immediately upon the occurrence
    of any of the following events:

              (a) Any act or omission by Physician that jeopardizes the health or safety of any
                       customers or other person; or

              (b) The expiration, revocation, or suspension of Physician's license to practice medicine
                     in the State of Texas.

    Termination Upon Notice. In addition, Satex may terminate this Agreement upon not less than
    sixty (60) days' notice.




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            Termination        by Physician. If Satex commits a matenal breach of .any of the tenns of the
            Agreement, then Physician may terminate this Agreement upon not less than sixty (60) days'
            wntten notice, unless Satex cures such breach to Physician's satisfaction pnor to the expiration
            for .such 60-day notice penod.

                                                     ARTICLE iv: Indemnification

           By Physician. Physician shall indemnify, defend, and hold Satex and its affiiates, agents,
           members of the Board, offcers, employees, invitees, guests, or other contractors harmless from
           and against all claims, losses, costs, damages, and expenses (including without limitation,
           attorneys' fees) relating to injury to or death of any person or dàmages to real or personal
          . property ansing, directly or indirectly, proximately or remotely from: (a) any breach by
           Physician      or (b) any provision of this Agreement; and (c) any act, omission, or neglect by
           Physician.

           By Satex. Satex agrees to indemnify and hold Physician harmless from and against all claims or
           monetary loss due solely to the gross negligence in the performance of, or matenal breach of,
           this Agreement by Satex or any of Satex's agents.

                                             ARTICLE V: Relationship of               the Parties

           Independent Contractor. Physician, at all times, wil act as an independent contractor
                                                                                                      and not
           as a parner, employee or agent of Satex. Physician wiI not act or hold himself out to third
          paries as a partner or agent of Satex in the provision of Medical Consultant Services under this
          Agreement. Purthermore, Satex may, in its discretion, withhold federal or state payroll taxes,
          unemployment taxes, health insurance, or other benefits customarly provided to a person
          deemed an employee that are not otherwise provided to Physician as compensation for services
          rendered.

          Control. Notwithstanding anything herein to the contrary, Satex wiI not have or exercise any
          control over the manner in which Physician provides his professional services hereunder.

                                                        ARTICLE IX: General
          Regulatory Requirements. Satex wil operate its facilties at all times in compliance with
                                          regulations, its wntten policies, rules, and regulations, the
          federal, state and local law, rules, and

         medical staff bylaws, and all currently accepted and approved methods and practices. The
         parties expressly agree that nothing contained in this Agreement shall require Physician to refer
         patients/customers to Satex or any other entity. Notwithstanding any unanticipated effect of any
         provisions of this Agreement, neither party wil intentionally conduct itself in such a manner as
         to violate the prohibition against ilegal remuneration in connection with the Medicare and
         Medicaid programs (42 USC §1320a-7B(b)).

         Notices. Any notices permitted or required by this Agreement will be deemed made on the day
         personally delivered in writing or mailed by certified mail, postage pre-paid, to the other party at




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                   the address set forth below          or to sùch other person and address as either pary may designate in
                   writing:

                             If to Physician:
                             Shaffn Ali Mohamed, M.D.
                             311 Pinehaven
                             Houston, TX 77024

                             If   to Satex:
                             Satex Management Servìces, Inc.
                             Attn: Jonathan Y. Boyd
                             6228 Bandera Road
                             San Antonio, TX 78238
                                                                                                                              :'..,
                  The Chief Executive OfficerlPresident of Satex has the full authonty to communicate on behalf
                  of and to bind Satex in connection with the performance of this Agreement.

                  Severabilty. This Agreement is intended to       be performed in accordance with, and only to the
                  extent permitted by, all applicable làws, ordinances, rules and regulations. If any provision of
                  this Agreement or the application thereof to   any person or circumstance shall, for any reason and
                  to any extent, be invalid or unenforceable, but to the extent of such invalidity or unenforceability
                  does not destroy the basis of the bargain between the parties as expressed herein, the remainder
                  of this Agreement and the application of such provisions to other persons or circumstances shall
                  not be affected thereby, but rather shall be enforced to the greatest extent permtted by law.

                  Intiirpretation. The headings used herein are for convenience only and do not limit the contents
                  of this Agreement.

                  Variations of Pronouns. All pronouns and vanations thereof wil be deemed to refer to the
                  mas,cuJine, feminine, or neuter, singular or plural, as the identity of the person, persons, or entity
                  may require.

                  Governing Law. The interpretation and enforcement of
                                                                                  this Agreement wil be governed by the
                 laws of the State of Texas.

                 Assignabilty. The rights and obligations of Satex hereunder wil inure to the benefit or and be
                 binding upon its successors and assigns. Physician may not assign his nghts or obligations under
                 this Agreement without Satex's written consent.

                 No Waiver. No waiver of a breach of any provision of this Agreement will be construed to be a
                 waiver of any other breach of this Agreement, whether of a similar or dissimilar nature.

                 Amendments. Any amendments to this Agreement wíI be effective only is in wnting and
                 signed by Satex and Physician.




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         EntJre Agreement. This Agreement constitutes the entire Agreement with respect to the subject
         matter hereof.

         Counterparts. This Agreement may be executed in one or more counterpars, each and all of
         which shall be deemed an onginal and all of which together constitute a single and same
        instrument.

                IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
        executed by their duly authonzed officers, as of the date first set forth above.

        PHYSICIAN:




        SATEX:
                                                            ~\l~
                                                      SHAFFIN ALI MOHAMED, M.D.




                                                      SATEX MANAGEMENT SERVICES, INC.


                                                      By:
                                                               o t an Y. Boyd, President/CEO




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